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     Federal Defender
2    FRANCINE ZEPEDA, Bar #091175
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    JACOB MOYA
7
8                                 IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:07-cr-00302 AWI
                                                     )
12                         Plaintiff,                )   STIPULATION TO CONTINUE MOTIONS
                                                     )   SCHEDULE AND STATUS CONFERENCE/
13          v.                                       )   MOTIONS HEARING; ORDER
                                                     )
14   JACOB MOYA,                                     )   Date: March 17, 2008
                                                     )   Time: 9:00 A.M.
15                         Defendant.                )   Judge: Hon. Anthony W. Ishii
                                                     )
16                                                   )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, Kimberly A. Sanchez, Assistant United States Attorney, counsel for Plaintiff, and Francine
20   Zepeda, Assistant Federal Defendant, counsel for Defendant Jacob Moya, that a new motions schedule be
21   set as follows: motions in the above-captioned matter shall be filed on or before February 19, 2008,
22   responses shall be filed on or before March 3, 2008, replies shall be filed on or before March 10, 2008,
23   and the status conference/motions hearing in the above-referenced matter now set for January 28,
24   2008, may be continued to March 17, 2008, at 9:00 A.M.
25          This continuance is requested by counsel for Defendant Jacob Moya to allow her additional time
26   for defense preparation and investigation, and to allow the parties time for negotiation. The requested
27   continuance will conserve time and resources for the parties and the court.
28   ///
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1             The parties agree that the delay resulting from the continuance shall be excluded in the interests of
2    justice, including but not limited to, the need for the period of time set forth herein in the interest of justice
3    and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(1)(F), 3161(h)(8)(A) and
4    3161(h)(8)(B)(i) and (iv).
5                                                                         McGREGOR W. SCOTT
                                                                          United States Attorney
6
7    DATED: January 24, 2008                                        By: /s/ Kimberly A. Sanchez
                                                                       KIMBERLY A. SANCHEZ
8                                                                      Assistant United States Attorney
                                                                       Attorney for Plaintiff
9
10                                                                        DANIEL J. BRODERICK
                                                                          Federal Public Defender
11
12   DATED: January 24, 2008                                        By:    /s/ Francine Zepeda
                                                                          FRANCINE ZEPEDA
13                                                                        Assistant Federal Defender
                                                                          Attorneys for Defendant
14                                                                        JACOB MOYA
15
16
17
18                                                            ORDER
19            IT IS SO ORDERED. Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(1)(F),
20   3161(h)(8)(A) and 3161(h)(8)(B)(i) and (iv).
21
22   IT IS SO ORDERED.
23   Dated:       January 24, 2008                                /s/ Anthony W. Ishii
     0m8i78                                                 UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Motions Schedule and Status
     Conference/Motions Hearing; [Proposed] Order Thereon        -2-
